Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 1 of 130 PageID #: 302




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          1
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 2 of 130 PageID #: 303




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          2
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 3 of 130 PageID #: 304




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          3
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 4 of 130 PageID #: 305




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          4
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 5 of 130 PageID #: 306




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          5
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 6 of 130 PageID #: 307




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          6
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 7 of 130 PageID #: 308




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          7
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 8 of 130 PageID #: 309




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          8
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 9 of 130 PageID #: 310




                EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          9
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 10 of 130 PageID #: 311




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          10
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 11 of 130 PageID #: 312




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          11
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 12 of 130 PageID #: 313




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          12
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 13 of 130 PageID #: 314




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          13
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 14 of 130 PageID #: 315




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          14
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 15 of 130 PageID #: 316




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          15
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 16 of 130 PageID #: 317




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          16
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 17 of 130 PageID #: 318




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          17
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 18 of 130 PageID #: 319




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          18
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 19 of 130 PageID #: 320




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          19
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 20 of 130 PageID #: 321




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          20
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 21 of 130 PageID #: 322




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          21
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 22 of 130 PageID #: 323




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          22
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 23 of 130 PageID #: 324




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          23
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 24 of 130 PageID #: 325




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          24
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 25 of 130 PageID #: 326




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          25
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 26 of 130 PageID #: 327




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          26
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 27 of 130 PageID #: 328




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          27
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 28 of 130 PageID #: 329




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          28
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 29 of 130 PageID #: 330




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          29
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 30 of 130 PageID #: 331




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          30
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 31 of 130 PageID #: 332




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          31
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 32 of 130 PageID #: 333




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          32
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 33 of 130 PageID #: 334




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          33
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 34 of 130 PageID #: 335




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          34
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 35 of 130 PageID #: 336




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          35
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 36 of 130 PageID #: 337




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          36
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 37 of 130 PageID #: 338




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          37
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 38 of 130 PageID #: 339




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          38
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 39 of 130 PageID #: 340




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          39
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 40 of 130 PageID #: 341




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          40
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 41 of 130 PageID #: 342




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          41
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 42 of 130 PageID #: 343




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          42
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 43 of 130 PageID #: 344




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          43
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 44 of 130 PageID #: 345




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          44
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 45 of 130 PageID #: 346




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          45
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 46 of 130 PageID #: 347




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          46
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 47 of 130 PageID #: 348




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          47
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 48 of 130 PageID #: 349




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          48
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 49 of 130 PageID #: 350




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          49
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 50 of 130 PageID #: 351




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          50
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 51 of 130 PageID #: 352




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          51
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 52 of 130 PageID #: 353




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          52
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 53 of 130 PageID #: 354




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          53
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 54 of 130 PageID #: 355




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          54
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 55 of 130 PageID #: 356




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          55
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 56 of 130 PageID #: 357




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          56
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 57 of 130 PageID #: 358




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          57
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 58 of 130 PageID #: 359




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          58
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 59 of 130 PageID #: 360




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          59
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 60 of 130 PageID #: 361




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          60
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 61 of 130 PageID #: 362




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          61
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 62 of 130 PageID #: 363




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          62
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 63 of 130 PageID #: 364




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          63
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 64 of 130 PageID #: 365




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          64
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 65 of 130 PageID #: 366




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          65
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 66 of 130 PageID #: 367




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          66
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 67 of 130 PageID #: 368




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          67
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 68 of 130 PageID #: 369




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          68
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 69 of 130 PageID #: 370




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          69
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 70 of 130 PageID #: 371




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          70
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 71 of 130 PageID #: 372




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          71
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 72 of 130 PageID #: 373




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          72
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 73 of 130 PageID #: 374




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          73
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 74 of 130 PageID #: 375




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          74
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 75 of 130 PageID #: 376




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          75
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 76 of 130 PageID #: 377




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          76
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 77 of 130 PageID #: 378




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          77
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 78 of 130 PageID #: 379




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          78
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 79 of 130 PageID #: 380




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          79
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 80 of 130 PageID #: 381




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          80
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 81 of 130 PageID #: 382




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          81
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 82 of 130 PageID #: 383




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          82
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 83 of 130 PageID #: 384




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          83
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 84 of 130 PageID #: 385




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          84
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 85 of 130 PageID #: 386




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          85
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 86 of 130 PageID #: 387




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          86
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 87 of 130 PageID #: 388




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          87
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 88 of 130 PageID #: 389




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          88
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 89 of 130 PageID #: 390




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          89
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 90 of 130 PageID #: 391




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          90
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 91 of 130 PageID #: 392




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          91
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 92 of 130 PageID #: 393




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          92
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 93 of 130 PageID #: 394




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          93
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 94 of 130 PageID #: 395




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          94
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 95 of 130 PageID #: 396




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          95
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 96 of 130 PageID #: 397




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          96
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 97 of 130 PageID #: 398




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          97
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 98 of 130 PageID #: 399




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          98
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 99 of 130 PageID #: 400




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON          99
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 100 of 130 PageID #: 401




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           100
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 101 of 130 PageID #: 402




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           101
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 102 of 130 PageID #: 403




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           102
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 103 of 130 PageID #: 404




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           103
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 104 of 130 PageID #: 405




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           104
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 105 of 130 PageID #: 406




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           105
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 106 of 130 PageID #: 407




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           106
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 107 of 130 PageID #: 408




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           107
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 108 of 130 PageID #: 409




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           108
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 109 of 130 PageID #: 410




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           109
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 110 of 130 PageID #: 411




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           110
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 111 of 130 PageID #: 412




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           111
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 112 of 130 PageID #: 413




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           112
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 113 of 130 PageID #: 414




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           113
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 114 of 130 PageID #: 415




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           114
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 115 of 130 PageID #: 416




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           115
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 116 of 130 PageID #: 417




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           116
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 117 of 130 PageID #: 418




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           117
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 118 of 130 PageID #: 419




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           118
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 119 of 130 PageID #: 420




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           119
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 120 of 130 PageID #: 421




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           120
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 121 of 130 PageID #: 422




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           121
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 122 of 130 PageID #: 423




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           122
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 123 of 130 PageID #: 424




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           123
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 124 of 130 PageID #: 425




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           124
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 125 of 130 PageID #: 426




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           125
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 126 of 130 PageID #: 427




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           126
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 127 of 130 PageID #: 428




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           127
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 128 of 130 PageID #: 429




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           128
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 129 of 130 PageID #: 430




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           129
Case: 3:21-cv-00171-MPM-RP Doc #: 36 Filed: 10/19/21 130 of 130 PageID #: 431




                 EXHIBIT A - TRAINING CERTIFICATES OF OFFICER SOLOMON           130
